      Case 1:18-cv-01654-JEJ-KM Document 7-1 Filed 09/11/18 Page 1 of 1




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 JOSHUA A. MONIGHAN          :
                   Plaintiff :
                             :                 No. 1:18-CV-1654
            v.               :
                             :                 Judge Jones
 TOM WOLF GOVERNOR           :
 COMMONWEALTH OF PA          :                 Electronically Filed Document
                             :
                             :                 Complaint Filed 08/21/18
                             :
                 Defendants :


                                     ORDER
      AND NOW, this             day of __________________________, 201__,

upon consideration of Defendant’s Motion to Dismiss, it is hereby ordered that the

motion is GRANTED. Plaintiff’s Complaint is dismissed against Defendant Wolf,

with prejudice.



                                      By the Court:



                                      John E. Jones, III
                                      United States District Judge
